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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 Monte Silver, et al.                           )
                                                )
                  Plaintiffs,                   )
                                                )
 v.                                             )       Civil Action No. 19-cv-247 (APM)
                                                )
 Internal Revenue Service, et al.               )
                                                )
                  Defendants.                   )
                                                )

 MOTION FOR LEAVE TO FILE A MEMORANDUM OF LAW OF AMICUS CURIAE,
   THE CENTER FOR TAXPAYER RIGHTS, IN SUPPORT OF THE PLAINTIFF

        COMES NOW the Tax Clinic at the Legal Services Center of Harvard Law School (“the

Harvard Clinic”) and the Philip C. Cook Low-Income Taxpayer Clinic of Georgia State

University College of Law (“Philip C. Cook Clinic”), counsel for amicus curiae, the Center for

Taxpayer Rights, and moves this Court for leave to file a memorandum of law in support of the

plaintiff. The plaintiffs assent to the filing of this motion, and defendants have no objection as

long as the brief of amicus curiae is filed within the time frame set for the filing of the brief for

the plaintiffs.

        In support of this motion, the proposed amicus curiae submits the following statement of

interest pursuant to Local Rule 7(o) :

        No party’s counsel authored the proposed memorandum in whole or in part. No party or

party’s counsel contributed money that was intended to fund preparing or submitting the

proposed memorandum. The only contribution of money used to fund the preparation or

submission of the proposed memorandum was provided by Georgia State University College of

Law and Harvard University, who drafted the motion and proposed memorandum.




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       The Center for Taxpayer Rights is an organization dedicated to furthering taxpayers’

awareness of and access to taxpayer rights. A 501(c)(3) not-for-profit corporation dedicated to

advancing taxpayer rights and ensuring due process for taxpayers, the Center accomplishes its

mission, in part, by educating the public and government officials about the role taxpayer rights

play in promoting compliance and trust in systems of taxation. The Center, and its Executive

Director, Nina Olson, the former National Taxpayer Advocate, has experience advocating on

behalf of taxpayers whose voices might otherwise not receive attention. The Center believes that

the creation of regulations relating to small businesses have a significant impact on low-income

taxpayers because of the number of low-income taxpayers who own small business impacted by

the regulations and who work for small businesses.

       The Philip C. Cook Clinic and the Harvard Clinic, founded in 1992 and 2015

respectively, were founded to represent low-income taxpayers before the Internal Revenue

Service (IRS) and in tax matters before the Courts. The Clinics have significant experience

representing low-income clients who both operate and work for small businesses, particularly in

regards to how these businesses are increasingly interacting with the growing gig economy.

While Clinic clients—or individuals seeking the Clinics’ advice—typically are not U.S.

shareholders of the specified foreign corporations to whom IRC § 965 would apply, the IRS’s

position in this case is likely to impact the Clinics’ client community. In this matter, the IRS

violated the Regulatory Flexibility Act (RFA) and the Administrative Procedure Act (APA) by

imposing burdensome regulations under IRC § 965, which sets a regulatory precedent that could

indeed harm low-income taxpayers in the future. Were this Court to find that the IRS properly

complied with the RFA and APA, low-income taxpayers—particularly those who are self-

employed or who have small businesses—could be disproportionately affected by similar




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regulatory action designed to increase information reporting in the sharing economy sector.

APA and RFA procedures are intended to mitigate the effects of sweeping federal regulation on

those without the resources to comply. The government’s position undermines that very purpose

by curtailing public participation in the rulemaking process and allowing the government to

adopt overly burdensome regulations that can negatively impact vulnerable taxpayers by

imposing unreasonable compliance burdens both on them and on their employers.

        The Center and its counsel believe that they can be of assistance to this Court in the

instant case by illustrating the potential harm that the government’s position could have on low-

income taxpayers in the sharing economy who might otherwise be overlooked.

       It is the intention of the amicus curiae to file a brief with the court of less than 25 pages

which conforms to the requirements of LCvR 5.4 and with FRAP 29(a)(4) by May 19, 2020, the

due date of the original brief of the complainant. Amicus curiae does not seek to participate in

oral argument.


                                              Respectfully submitted,


                                               /s/ Dana Montalto
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                                              Prepared with assistance from law students
                                              Abigail Fitts, Lauren Heron, and William Liang

                                              Dated: May 8, 2020




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                                CERTIFICATE OF SERVICE

I, Dana Montalto, hereby certify that the foregoing documents filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic
Filing, including counsel for Plaintiffs and Defendant listed below, and paper copies will be sent
to those indicated as non-registered participants:

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                                                            /s/ Dana Montalto
                                                            Dana Montalto

                                                            Dated: May 8, 2020




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                               UNITED STATES DISTRICT COURT
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                 Plaintiffs,                 )
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                                             )
 Internal Revenue Service, et al.            )
                                             )
                 Defendants.                 )
                                             )

                                           ORDER

        Upon consideration of the Motion for Leave to File Memorandum of Law of Amicus

Curiae The Center for Taxpayer Rights, it is hereby

        ORDERED, the Court grants the Motion for Leave to File Memorandum of Law of

Amicus Curiae in this proceeding.



        SIGNED this ___ day of ________, 2020.




                                                      _________________________________
                                                      Amit P. Mehta
                                                      U.S. District Court Judge




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